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                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                        SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   20
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   21                                                   RESPONSE TO COURT’S DISCOVERY ORDER
                               v.                                       OF DECEMBER 4, 2024 [DKT. 304]
                   22
                        META PLATFORMS, INC., a Delaware
                   23   corporation;
                   24                                   Defendant.
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COOLEY LLP
ATTORNEYS AT LAW                                                                    DEF. META’S RESPONSE TO COURT’S
                                                                                      ORDER OF DEC. 4, 2024 [DKT. 304]
                                                                                              3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 313         Filed 12/05/24       Page 2 of 2



                    1          Pursuant to the Magistrate Judge’s Order on December 4, 2024 (Dkt. 304), Defendant Meta

                    2   Platforms, Inc. (“Meta”) hereby submits as the attached Exhibit 1 a copy of the Parties’ October

                    3   31, 2024 Joint Letter Brief (Dkt. 247) without a redaction on page seven.

                    4
                        Dated: December 5, 2024                             COOLEY LLP
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                                                                        1                ORDER OF DECEMBER 4, 2024 [DKT. 304]
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